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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION

                                      CASE NO: 1:23-cv-20444


  KENNY OSINNOWO,

                  Plaintiff,

  v.

  ZOETOP BUSINESS CO., LIMITED, a Hong
  Kong limited company and SHEIN
  DISTRIBUTION CORP., a Delaware
  corporation,

                  Defendants.


                      COMPLAINT FOR COPYRIGHT INFRINGEMENT
                          (INJUNCTIVE RELIEF DEMANDED)

        Plaintiff KENNY OSINNOWO, by and through his undersigned counsel, brings this

 Complaint against Defendants ZOETOP BUSINESS CO., LIMITED and SHEIN

 DISTRIBUTION CORP. for damages and injunctive relief, and in support thereof states as

 follows:

                                  JURISDICTION AND VENUE

        1.      This is an action arising under the Copyright Act, 17 U.S.C. § 501.

        2.      This Court has subject matter jurisdiction over these claims pursuant to 28 U.S.C.

  §§ 1331, 1338(a).

        3.      Defendants are subject to personal jurisdiction in Florida.

        4.      Venue is proper in this district under 28 U.S.C. § 1391(b) and (c) and 1400(a)

  because the events giving rise to the claims occurred in this district, Defendants engaged in

  infringement in this district, and Defendants are subject to personal jurisdiction in this district.

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                                              PARTIES

        5.      Plaintiff KENNY OSINNOWO (“Osinnowo”) brings this action for violations of

  exclusive rights under the Copyright Act, 17 U.S.C. § 106, to copy and distribute Osinnowo's

  original copyrighted Work of authorship.

        6.      Osinnowo is an UK-based graphic designer who graduated with honors with a

  Bachelor of Arts Degree in Graphic Media Design from the London College of Printing (now

  known as The University of the Arts London). He works on the creative team for The Walt

  Disney Company in London. His online portfolio is available on several internet websites such

  as https://www.behance.net/KENNYDESIG2ae3, https://dribbble.com/kenny-osinnowo,

  https://www.redbubble.com/people/kdigraphics/shop?asc=u . Osinnowo retains all copyrights to

  his artworks and licenses his Works for commercial use.

        7.      Defendant ZOETOP BUSINESS CO., LIMITED is a Chinese limited Company

  with its principal place of business in Hong Kong S.A.R. that is doing business with the state of

  Florida.

        8.      Defendant SHEIN DISTRIBUTION CORP. is a Delaware corporation that is

  doing business with the State of Florida.

        9.      Defendants both do business in the U.S. as “Shein.” Shein is known as the largest

  and fastest growing “fast fashion giant” retailers in the world.

        10.     Shein was founded in 2008 and became successful for offering and distributing

  products at extremely low prices, and for rapidly producing products meeting the latest trends.

        11.     Shein was incorporated in 2021 in Delaware. Shein has quadrupled its revenue

  over the past three years reaching $15.7 billion dollars in sales and is seeking a $100 billion

  dollars in valuation of its company. That is, Defendant profits by flooding the market with
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  cheap, infringing products with little regard for the intellectual property rights of others. Shein

  reportedly adds over 1,000 new styles to its website every single day.

        12.     Shein’s success is largely attributed to its tech-driven approach, using artificial

  intelligence software that plugs trending styles from social media and across the internet

  directly into its computers on the factory floor.

        13.     At all times relevant herein, Defendants owned and operated the internet website

  in the U.S. located at the URL www.shein.com (the “Website”).

        14.     Defendants committed the violations alleged in connection with Shein’s business

  for purposes of advertising and promoting sales to the public in the course and scope of the

  Shein’s business.

                            THE COPYRIGHTED WORK AT ISSUE

        15.     In 2017, Osinnowo created the work known as “Lift Off.” This work is shown

  below and referred to herein as the “Work.”




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         16.     The Work was registered with the Register of Copyrights on November 16,2022

  and was assigned registration number VA 2-329-852. The Certificate of Registration is attached

  hereto as Exhibit 1.

         17.     Osinnowo's Work is protected by copyright but is not otherwise confidential,

  proprietary, or trade secrets.

         18.     At all relevant times, Osinnowo was the owner of the Work at issue in this case.

                              INFRINGEMENT BY DEFENDANTS

         19.     Defendants have never been licensed to use the Work at issue in this action for

  any purpose.

         20.     On a date after the Work at issue in this action was created, but prior to the filing

  of this action, Defendants copied the Work.

         21.     On or about July 1, 2022, Osinnowo discovered the unauthorized use of his Work

  on the Website.

         22.     Defendants copied the Work without Osinnowo’s permission.

         23.     After Defendants copied the Work, it made further copies and distributed the

  Work on the internet to promote the sale of goods and services as part of its fast fashion

  business.

         24.     Defendants copied and Osinnowo's copyrighted Work in connection with

  Defendants’ business for purposes of advertising and promoting Defendants’ business, and in

  the course and scope of advertising and selling products and services.

         25.     Osinnowo's Works are protected by copyright but are not otherwise confidential,

  proprietary, or trade secrets.



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         26.    Defendants committed copyright infringement of the Work as evidenced by the

  documents attached hereto as Exhibit 2.

         27.    Osinnowo never gave Defendants permission or authority to copy, distribute or

  display the Work at issue in this case.

         28.    Osinnowo notified Defendants of the allegations set forth herein on October 3,

  2022. To date, Defendants have failed to resolve the parties’ dispute.

                                        COUNT I
                                 COPYRIGHT INFRINGEMENT

         29.    Osinnowo incorporates the allegations of paragraphs 1 through 28 of this

  Complaint as if fully set forth therein.

         30.    Osinnowo owns a valid copyright in the Work at issue in this case.

         31.    Defendants copied, displayed, and distributed the Work at issue in this case and

  made derivatives of the Work without Plaintiff’s authorization in violation of 17 U.S.C. § 501.

         32.    Defendants performed the acts alleged in the course and scope of its business

  activities.

         33.    Defendants’ acts were willful.

         34.    Osinnowo has been damaged.

         35.    The harm caused to Osinnowo has been irreparable.

         WHEREFORE, the Plaintiff Kenny Osinnowo prays for judgment against the Defendants

 that:

                a.      Defendants and its officers, agents, servants, employees, affiliated entities,

         and all of those in active concert with them, be preliminarily and permanently enjoined

         from committing the acts alleged herein in violation of 17 U.S.C. § 501;



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              b.      Defendants be required to pay Plaintiff his actual damages and SHEIN’s

       profits attributable to the infringement;

              c.      Plaintiff be awarded his attorneys’ fees and costs of suit under the

       applicable statutes sued upon;

              d.      Plaintiff be awarded pre- and post-judgment interest; and

              e.      Plaintiff be awarded such other and further relief as the Court deems just

       and proper.

                                        JURY DEMAND

       Plaintiff hereby demands a trial by jury of all issues so triable.

 DATED: February 3, 2023                      Respectfully submitted,


                                              /s/ Joel B. Rothman
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